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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

YANICK B.,

                Petitioner,                                       Civ. No. 19-7874 (KM)

       V.


KIRSTJEN NIELSEN et al.,                                          MEMORANDUM AND ORDER

                Respondents.




        Petitioner, Yanick B..’ is an immigration detainee currently held at a facility in New

Jersey.2 On February 19, 2019, acting by counsel, he filed a petition for writ of habeas corpus,

under 28 U.S.C.   § 2241, in the United States District Court for the Southern District of New
York. On February 25, 2019, United States District Judge Lorna G. Schofield ordered the

proceeding transferred to the District of New Jersey.

        Petitioner challenges the duration of his present immigration detention and the failure by

Respondents to respond to his request for a second bond hearing based on changed

circumstances.3 Under Rule 4 of the Rules Governing         § 2254 Cases (applied in this proceeding
under Rule 1(b) of the Rules Governing       §   2254 Cases), this Court has examined the petition and



I        Consistent with guidance regarding privacy concerns in social security and immigration cases by
the Committee on Court Administration and Case Management of the Judicial Conference of the United
States, petitioner is identified herein only by his first name and last initial.
2      It is unclear, from the documents before the Court, whether Petitioner is presently held at the
Bergen County Jail or the Essex County Correctional Facility. (See Pet., DE 6, ¶j 1,5.)

        Petitioner indicates that, at a bond hearing he received over a year and a half ago, release on bond
was denied largely because Petitioner had been arrested and was the defendant in criminal proceedings.
He explains that the criminal proceedings did not result in a conviction. Petitioner indicates that he
requested a new bond hearing due to changed circumstances on June 11,2018, but received no response.
(See DE 6 ¶J 2, 24—25.)
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determined that dismissal without receiving an answer and the underlying record is not

warranted.

          Accordingly, IT IS this 14th day of March, 2019

          ORDERED that the Clerk shall serve copies of the petition (DE 6) and this Order upon

respondents by regular mail, with all costs of service advanced by the United States; and it is

further

          ORDERED that the Clerk shall forward a copy of the petition (DE 6) and this Order to

the Chief, Civil Division, United States Attorney’s Office, at the following email address:

USANJ-HabeasCasesusdoj.gov; and it is further

          ORDERED that, within forty-five (45) days of the entry’ of this Order, respondents shall

file and serve an answer that (1) responds to the allegations and grounds in the petition and (2)

includes all affirmative defenses respondents seek to invoke; and it is further

          ORDERED that respondents shall file and serve with the answer certified copies of all

documents necessary to resolve petitioner’s claim(s) and affirmative defenses; and it is further

          ORDERED that within forty-five (45) days of receipt of the answer, petitioner may file a

reply to the answer; and it is further

          ORDERED that within seven (7) days of petitioner’s release, by parole or otherwise, as

well as any change in the basis for petitioner’s immigration detention, respondents shall

electronically file a written notice of the same with the Clerk.




                                                               KE INMCNULTY
                                                                                   /S
                                                               United States District Judge
